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                                    6   Attorneys for Plaintiff

                                    7   [Additional Counsel Appear on Signature Page]

                                    8                               UNITED STATES DISTRICT COURT

                                    9           NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

                                   10   MOSES SIMMONS, individually and on              Case No. 3:16-cv-07078-RS
                                        behalf of all others similarly situated,
                                   11
                                                       Plaintiff,                       JOINT STIPULATION AND ORDER
                                   12                                                   CONCERNING SECOND CLASS
    BLOOD HURST & O’REARDON, LLP




                                               v.                                       ACTION COMPLAINT SUBSTITUTING
                                   13                                                   NAMED PLAINTIFF AND PROPOSED
                                        PREMIER NUTRITION CORPORATION                   MICHIGAN CLASS REPRESENTATIVE
                                   14   f/k/a JOINT JUICE, INC.,
                                                                                        CLASS ACTION
                                   15                  Defendant.

                                   16
                                                                                        District Judge:      Hon. Richard Seeborg
                                   17                                                   Courtroom:           3, 17th Floor, SF
                                                                                        Magistrate Judge:    Donna M. Ryu
                                   18                                                   Courtroom:           4, 3rd Floor, Oakland

                                   19                                                   Comp. Filed:          March 21, 2013
                                                                                        Trial Date (Mullins): TBD
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                                                                                                             Case No. 3:16-cv-07078-RS
00149323                                 JOINT STIPULATION CONCERNING SECOND AMENDED COMPLAINT RE SIMMONS
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                                   1          Pursuant to Local Rule 6-1 and 6-2, Plaintiff Moses Simmons (“Plaintiff”), and Defendant

                                   2   Premier Nutrition Corporation (“Defendant”), through their respective counsel of record

                                   3   (collectively, “the Parties”), hereby stipulate and agree, as follows:

                                   4          WHEREAS, on December 12, 2016 Plaintiff’s counsel filed the operative Class Action

                                   5   Complaint on behalf of Moses Simmons and all others similarly situated (Dkt. 1), and on September

                                   6   7, 2018 Plaintiff’s counsel filed the First Amended Class Action Complaint (Dkt. 24), and on

                                   7   October 25, 2018 Defendant filed its answer to the First Amended Class Action Complaint. (Dkt.

                                   8   34); and

                                   9          WHEREAS, pursuant to Fed. R. Civ. P. 15(a)(2), Defendant hereby provides its written

                                  10   consent for Plaintiff’s counsel to file a Second Amended Class Action Complaint (“FAC”) wherein

                                  11   Beverley Avery is substituted as the named plaintiff and proposed class representative for Mr.

                                  12   Simmons;
   BLOOD HURST & O’REARDON, LLP




                                  13          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties, through

                                  14   their respective counsel, that:

                                  15          Plaintiff’s Second Amended Class Action Complaint will be filed concurrently.

                                  16          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                  17                                                     Respectfully Submitted,

                                  18    Dated: May 8, 2019                              BLOOD HURST & O’REARDON, LLP
                                                                                        TIMOTHY G. BLOOD (149343)
                                  19                                                    THOMAS J. O’REARDON II (247952)

                                  20                                                    By:          s/ Timothy G. Blood
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                                  25                                                    CRAIG M. PETERS (1840180)
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                                                                                    tcarpenter@carlsonlynch.com
                                   5                                                Attorneys for Plaintiff
                                   6
                                        Dated: May 8, 2019                          VENABLE LLP
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                                                                                    JESSICA L. GRANT (178138)
                                   8                                                DANIEL E. LASSEN (271446)
                                                                                    AMIT RANA (291912)
                                   9                                                YUHAN CHI (324072)
                                  10                                                By:            s/ Angel A. Garganta
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                                  18
                                                                          ECF CERTIFICATION
                                  19
                                              The filing attorney attests that he has obtained concurrence regarding the filing of this
                                  20
                                       document from the signatories to this document.
                                  21
                                        Dated: May 8, 2019                         BLOOD HURST & O’REARDON, LLP
                                  22

                                  23                                               By:           s/ Timothy G. Blood
                                                                                                TIMOTHY G. BLOOD
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                                   1                                             ORDER

                                   2          Having reviewed the above Stipulation and Proposed Order Concerning Second Amended

                                   3   Class Action Complaint, IT IS HEREBY ORDERED that the Court finds that good cause exists for

                                   4   the entry of this Order.

                                   5          IT IS SO ORDERED.

                                   6

                                   7           May 9, 2019
                                        DATED: ___________________

                                   8                                            THE HONORABLE RICHARD SEEBORG
                                                                               UNITED STATES DISTRICT COURT JUDGE
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   BLOOD HURST & O’REARDON, LLP




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                                   1                                    CERTIFICATE OF SERVICE

                                   2          I hereby certify that on May 8, 2019, I electronically filed the foregoing with the Clerk of

                                   3   the Court using the CM/ECF system which will send notification of such filing to the e-mail

                                   4   addresses denoted on the Electronic Mail Notice List, and I hereby certify that I have mailed the

                                   5   foregoing document or paper via the United States Postal Service to the non-CM/ECF participants

                                   6   indicated on the Electronic Mail Notice List.

                                   7          I certify under penalty of perjury under the laws of the United States of America that the

                                   8   foregoing is true and correct. Executed on May 8, 2019.

                                   9

                                  10
                                                                                                   s/ Timothy G. Blood
                                  11                                                              TIMOTHY G. BLOOD
                                  12                                                   BLOOD HURST & O’REARDON, LLP
   BLOOD HURST & O’REARDON, LLP




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                                                                         4              Case No. 3:16-cv-07078-RS
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